                 Case 1:21-cv-00563-TSE-JFA
Chambers of the Honorable John prAriSer       Document 11 Filed 02/07/22 Page 1 of 2 PageID# 219
                                                                                                                                                l-IKSI-ULASii MAIL
United States District Court                                                                                                 Hasier
401 Courthouse Square                                                                                                        01/26/2022
Alexandria, VA 22314                                                                                                         US POSTAGE        $00,532
                                                                                                                                                  ZIP 22314
                                                                                                                                               011D11648117
                                                                                                              -   ■




                                                Security Studies Group
                                                c/o Registered Agent, James R. Hanson
                                                2Z^^^lingi WTXX6                     2^7           e E .1                               0R02/03/22
                                                                                                       T"0   dCNOuR
                                                                 NO       DcLXVERAaLc                        A5              AuORE3S£D
                                                                               u N AS LE               TO    r Ok war 0
                                                                   ■^■^"9^    A e    ^ n                     w 9           rt rt ->
                                                                   4, *. m*   'r J   /   V ■                                      2 -1C2S1-2S-42
                                         223i4>-5704             lul.lliiinn.lnjMliiilliln.iill.lliintiilii
                                                                   M   WtM      II       f|    t   M    1M            II     II   Mil   II

                                   2220&$34-C'2     COQ3
Case 1:21-cv-00563-TSE-JFA Document 11 Filed 02/07/22 Page 2 of 2 PageID# 220



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

JEREMY NICHOLL,

                       Plaintiff,

       V.                                        Civil Action No. I:21cv00563(TSE/JFA)

SECURITY STUDIES GROUP,

                       Defendant.



                                            ORDER


       This matter is before the court on plaintiffs motion for defaultjudgment. (Docket no. 8).

Plaintiffs motion was filed without a certificate ofservice indicating that a copy ofthe pleadings

was mailed to defendant and without a notice of hearing. For these reasons, it is hereby

       ORDERED that plaintiffshall file a notice of hearing on its motion for defaultjudgment

for 10:00 a.m. on any Friday more than one week after copies ofthe notice of hearing, motion,

and memorandum in support have been mailed to defendant. Plaintiffshall file a certificate of

service confirming that defendant has been served with a copy ofthese pleadings.

       Entered this 26th day of January, 2022.
                                                                     ./s/.
                                                       John R Anderson
                                                       United States Mnnistratfi .iiidoP
                                                     John F. Anderson
Alexandria, Virginia                                 United States Magistrate Judge
